UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                ) Case No. 20-12345 (SCC)
                                                      )
THE ROMAN CATHOLIC DIOCESE OF                         ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                           )
                                                      )
                               Debtor.                )
                                                      )
                                                      ) Adv. No. 20-01226 (SCC)
THE ROMAN CATHOLIC DIOCESE OF                         )
ROCKVILLE CENTRE, NEW YORK,                           )
                                                      )
                               Plaintiff,             )
         v.                                           )
                                                      )
ARK320 DOE, et al.,                                   )
                                                      )
                               Defendants.            )

                                 CERTIFICATE OF SERVICE

  STATE OF TEXAS                            )
                                            )
  COUNTY OF HARRIS                          )


         I, Kerri LaBrada, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 440 Louisiana

Street, Suite 900, Houston, Texas 77002.

         On September 14, 2022, in addition to service via the Court’s ECF system, I caused a

true and correct copy of the following documents to be served via electronic mail and First Class

US Mail upon the parties on the service list annexed hereto as Exhibit 1:

     Notice of Withdrawal of [Proposed] Stipulated Scheduling Order With Respect to
      Debtor’s Motion for Preliminary Injunction [Docket No. 142].

                                                     /s/ Kerri LaBrada
                                                     Kerri LaBrada




DOCS_NY:46472.1 18491/001
                                EXHIBIT 1


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